                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

 IN RE: AHERN RENTALS, INC.,                     )
 TRADE SECRET LITIGATION.                        )   Case No. 2:20-md-02945-BP
                                                 )
                                                 )   (Relating to Rosencranse Action
                                                 )   Case No. 2:20-cv-014116-BP)

                  NOTICE OF DEPOSITION OF JAMES PAMPINELLA

       You are hereby notified that the following deposition will be taken as follows:


               Deponent:              James Pampinella

               Location:              Baker McKenzie LLP
                                      Two Embarcadero Center, Suite 100.
                                      San Francisco, CA 94111
               Date/Time:             Tuesday, May 17, 2022, 9:30 a.m.


       The deposition will be taken upon oral examination and such testimony will be recorded

stenographically and videotaped by Veritext Legal Solutions. This deposition will continue from

day to day until completed or adjourned.

                                                     Respectfully submitted,
                                                     OGLETREE, DEAKINS, NASH, SMOAK &
                                                     STEWART, P.C.

                                                     /s/ Michael L. Matula
                                                     Michael L. Matula,          MO #47568
                                                     Walter M. Brown,            MO #50515
                                                     Sarah E. Jones,             MO #71957
                                                     4520 Main Street, Suite 400
                                                     Kansas City, MO 64111
                                                     Telephone: 816-471-1301
                                                     Facsimile: 816-471-1303
                                                     michael.matula@ogletree.com
                                                     walter.brown@ogletree.com
                                                     sarah.jones@ogletree.com

                                                     ATTORNEYS FOR DEFENDANT
                                                     AHERN RENTALS, INC.



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                                CERTIFICATE OF SERVICE

         The undersigned certifies that on the 5th day of May 2022, the foregoing was electronically
filed with the Clerk of the Court using the CM/ECF system which sent notification of such filing
to all counsel of record.



                                                 /s/ Michael L. Matula
                                                 ATTORNEY FOR DEFENDANT
                                                 AHERN RENTALS, INC.




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